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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
)
Securities and Exchange Commission, )
)
Plaintiff, Garnishor )
) Civil Action No. 3:17-ev-00139-D
v. )
)
Robin G. Charlet, Greg J. Tuthill, )
Steven W. Sparks, and Kirk D. Porter, — )
)
Defendants, )
)
and )
)
Amerprise Financial Services, Inc. )
and its successors or assigns, )
)
Garnishee. )
_)

STIPULATION AND [PROPOSED] ORDER MODIFYING THE POST-JUDGMENT
CONTINUING WRIT OF GARNISHMENT PURSUANT TO 28 U.S.C. § 3205 (DE 35)
AND THE POST JUDGMENT-CONTINUING WRIT OF GARNISHMENT
PURSUANT TO RULE 69 (DE 36)

The Judgment Creditor, the Securities and Exchange Commission (“Commission”) and
the Defendant, Kirk D. Porter (“Porter” and together “the Parties”) hereby enter this Stipulation
to modify the Post-Judgment Continuing Writ of Garnishment Pursuant to 28 U.S.C. § 3205
(Dkt. 35) and the Post Judgment-Continuing Writ of Garnishment Pursuant to Rule 69 (Dkt. 36)
(“Writs of Garnishment’”) and request the Court’s approval of the Parties’ Stipulation as set forth

herein. In support hereof the Parties state the following:

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WHEREAS, the Court entered the Writs of Garnishment on August 18, 2017 ordering the
garnishment of all funds located at Ameriprise Financial Services, Inc. (“Ameriprise”) in which
Porter has an interest in partial satisfaction of the Final Judgment as to Kirk D. Porter (Dkt.
7)(“Judgment”) entered by this Court on January 17, 2017;

WHEREAS, the Court ordered Ameriprise to withhold and retain any property in its
possession, custody or control in which Porter has an interest and to forward the funds to the
SEC (Dkt. Nos. 35 and 36);

WHEREAS, in an effort to fully resolve the Judgment entered in the case, the Parties
have agreed to modify the Writs of Garnishment as follows;

NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that the
Writs of Garnishment are modified as follows:

Is All accounts located at Ameriprise in which Porter has an interest shall remain
frozen at Ameriprise per the instructions contained in the Writs of Garnishment for a period of
60 days from the filing of this Stipulation;

Dy Ameriprise shall retain the accounts and shall not liquidate the accounts fora
period of 60 days from the filing of this stipulation;

a At the end of 60 days, unless the Court orders otherwise, the accounts shall be
liquidated and the funds shal! be paid to the SEC per the instructions contained in the Writs of
Garnishment;

4, Porter shall pay the costs the SEC incurred to travel to his deposition at which he
did not appear on August 25, 2017, in the amount of $1,259.55;

3, In the event that Porter pays the full amount of his Judgment within 60 days, the

SEC agrees to request that the Court dismiss the Writs of Garnishment filed in this case and

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agrees to waive its right to seek the penalty surcharge of ten percent (10%) provided in 28 U.S.C.

§ 3011.

hy, D, D Porter

Apt. 103
Huntington Beach, California 92648-6421

yl

Nancy E. Tyler

100 F Street NE,
Washington, DC 2549-0022

SO ORDERED:

Hon. Sidney A. Fitzwater
United Stafes District Judge

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CERTIFICATE OF SERVICE

I hereby certify that on Qu gust 29 , 2017, I served the foregoing document by

filing in the Court’s Electronic ali Filing system, and relied upon that system’s automatic
service of this document upon counsel of record and served the parties as follows:

Ameriprise Financial Services, Inc.
Subpoena & Garnishment Team
§3850 Ameriprise Financial Center
Routing $/1854

Minneapolis, Minnesota 55474
Via: UPS Overnight Mail

and

Kirk D. Porter

19432 Pompano Lane

Apt. 103

Huntington Beach, California 92648-6421
Via: First Class Mail and email

Dated thised Tr day of August, 2017.

By: _s/Nancy E. Tyler
Nancy E. Tyler

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